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® AO 245B (Rev 06/05) (Rev. DC 12/15/05) Judgment in a Criminal Case

 

 

Sheet |
UNITED STATES DISTRICT COURT AUG -7 2009
for the District of Columbia Clerk, U.S. District and
ruptcy Courts
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv.
KEVIN AYERS Case Number: 07 CR 307

USM Number: 26915-016

MICHELLE PETERSON, ESQ.

Defendant's Attorney

 

THE DEFENDANT:
[pleaded guilty to count(s) COUNT 1 OF THE SUPERSEDING INFORMATION AND COUNT 2 OF THE INDICTMENT

[-] pleaded nolo contendere to count(s)
which was accepted by the court.

 

[J was found guilty on count(s)
after a plea of not guilty.

 

The defendant is adjudicated guilty of these offenses:

 

Title & Section Nature of Offense Offense Ended Count

21 USC § 841(a) (1) and UNLAWFUL POSSESSION WITH INTENT TO 1s

841(b)(1)(B)(iii); DISTRIBUTE FIVE GRAMS OR MORE OF COCAINE BASE

2
22 DCC § 2601 (a)(2) ESCAPE FROM AN OFFICER
The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
] The defendant has been found not guilty on count(s)
[WCount(s) REMAINING is/are dismissed on the motion of the United States.

 

_,,_ It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

JULY 17, 2009

Date of Imposition of Judgment fo
Aignature of a V

HENRY H. KENNEDY, JR. U.S. DISTRICT JUDGE
Name of Judge Title of Judge

JULY 31 , 2009
Date
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Shect 2 — Imprisonment

Judgment — Page 2
DEFENDANT: KEVIN AYERS
CASE NUMBER: 07 CR 307

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

84 MONTHS ON COUNT 1s WHICH SHALL RUN CONCURRENTLY TO COUNT 2
60 MONTHS ON COUNT 2 WHICH SHALL RUN CONCURRENTLY TO COUNT 1s

iy The court makes the following recommendations to the Bureau of Prisons:

DEFENDANT SHALL BE PERMITTED TO PARTICIPATE IN A 500 HOUR DRUG TREATMENT PROGRAM.

of

DEFENDANT SHALL BE DESIGNATED TO A FACILITY IN OR AS CLOSE TO THE DISTRICT OF COLUMBIA AS

POSSIBLE.
[] The defendant is remanded to the custody of the United States Marshal.

L] The defendant shall surrender to the United States Marshal for this district:
Cl at Oam pm. on
L] as notified by the United States Marshal.

 

L] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

C] before 2 p.m. on

 

[J as notified by the United States Marshal.

[] as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL

 
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Sheet 3 — Supervised Release

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DEFENDANT: KEVIN AYERS —
CASE NUMBER: 07 CR 307

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of :

5 YEARS ON COUNT 1s TO RUN CONCURRENTLY WITH COUNT 2
3 YEARS ON COUNT 2 TO RUN CONCURRENTLY WITH COUNT 1s

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the

custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shal! not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

O

Oo ogo

The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the

Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions

on the attached page.

2)

3)
4)
5)

6)
7)

8)
9)

10)

11)
12)

13)

STANDARD CONDITIONS OF SUPERVISION

the defendant shall not leave the judicial district without the permission of the court or probation officer;

the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
each month;

the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
the defendant shall support his or her dependents and meet other family responsibilities;

the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer;

the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant’s compliance with such notification requirement.
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Sheet 5 — Cnmuinal Monetary Penalties 4

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DEFENDANT: KEVIN AYERS —f- ——
CASE NUMBER: 07 CR 307

CRIMINAL MONETARY PENALTIES

Assessment Fine Restitution
TOTALS §$ 200.00 $ NO FINE $ N/A
(1 The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered

after such determination.
[] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately Pe ortioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 36644 , all nonfederal victims must be paid
before the United States is paid.

Name of Payee _Total Loss* Restitution Ordered Priority or Percentage

 

TOTALS $ 0.00 $ 0.00

[Restitution amount ordered pursuant to plea agreement $

[) The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
(] the interest requirement is waived forthe [| fine [] restitution.

L] the interest requirement forthe [1] fine [1 restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
